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                                                                                           "530"/0,& 7"
                            UNITED STATES DISTRICT COURT                                          '*-&%
                        FOR THE WESTERN DISTRICT OF VIRGINIA                                  August 26, 2024
                                                                                        -"63"""645*/ $-&3,
                                 ROANOKE DIVISION                                       #:T.1PGG %FQVUZ$MFSL


   ALEXANDRA GILL,                              )
                                                )
          Plaintiff,                            )
                                                )
   v.                                           )          Civil Action No.: 7:24-cv-299
                                                )
   WHATNOT, INC.                                )
                                                )
          Defendant.                            )

                                               ORDER

          Plaintiff filed a Notice of Voluntary Dismissal Without Prejudice (Dkt. 5), voluntarily

   dismissing the case without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(i).

          Finding it proper to do so, this case is DISMISSED and stricken from the active docket

   of the Court.

          It is so ORDERED.

                                                       Entered: August 26, 2024


                                                       Robert S. Ballou
                                                       Robert S. Ballou
                                                       United States District Judge
